             0:20-cv-00173-MGL        Date Filed 10/19/20       Entry Number 48       Page 1 of 1

AO 450 (SCD 04/2010) Judgment in a Civil Action
                                        UNITED STATES DISTRICT COURT
                                                    for the
                                          District of South Carolina

             Jeron Alondo Cook                         )
                  Petitioner                           )
                      v.                               )       Civil Action No.   0:20-cv-00173-MGL
            Warden Kenneth Nelsen                      )
                 Respondent                            )

                                    JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

  the petitioner (name)           recover from the respondent (name)             the amount of
dollars ($ ), which includes prejudgment interest at the rate of   %, plus postjudgment interest at the rate of
      %, along with costs.

 the petitioner recover nothing, the action be dismissed on the merits, and the respondent (name)
          recover costs from the petitioner (name)                        .

O other: Summary judgment is entered for the respondent, Warden Kenneth Nelsen. The petitioner, Jeron
Alondo Cook, shall take nothing of the respondent, Warden Kenneth Nelsen, and this action is dismissed with
prejudice.


This action was (check one):
 tried by a jury, the Honorable                   presiding, and the jury has rendered a verdict.

 tried by the Honorable                 presiding, without a jury and the above decision was reached.

O decided by the Court, the Honorable, Mary Geiger Lewis, United States District Judge, presiding. The Court
having adopted the Report and Recommendation of the Honorable Paige J. Gossett, United States Magistrate
Judge, granting the respondent’s motion for summary judgment.


Date: October 19, 2020                                        ROBIN L. BLUME, CLERK OF COURT


                                                                              s/M. McDonnell

                                                                    Signature of Clerk or Deputy Clerk
